                                                                 Motion GRANTED.

                 IN THE UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF TENNESSEE
                          NASHVILLE DIVISION



UNITED STATES OF AMERICA                   )
                                           )
                                           )
vs.                                        )       NO: 2:11-00002
                                           )           JUDGE TRAUGER
                                           )
TIMOTHY RICHARD FORRSTER                   )




                     MOTION TO CORRECT SPELLING OF LAST
                           NAME IN THE INDICTMENT


      Comes the defendant, Timothy Richard Forster, by and through

counsel and moves the Court to correct the spelling of his last

name in the indictment.

      The indictment spells his name a “Timothy Richard Forrester”.

The correct spelling of his names is “Timothy Richard Forster”.




                                           Respectfully submitted,




                                           s/ Michael D. Noel
                                           _______________________
                                           Michael D. Noel
                                           Attorney for Timothy
                                                Richard Forster

                                           5115 Maryland Way
                                           Brentwood, TN 37027
                                           TSCRN 2593

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